         Case 1:21-cv-00859-CL          Document 52            Filed 08/01/22   Page 1 of 28



KAREN M. VICKERS, OSB No. 913810
kvickers@vickersplass.com
Telephone: 503-726-5985
BETH F. PLASS, OSB No. 122031
bplass@vickersplass.com
Telephone: 503-726-5975
VICKERS PLASS LLC
5200 SW Meadows Road, Suite 150
Lake Oswego, OR 97035
       Of Attorneys for Defendants
                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF OREGON
                                       MEDFORD DIVISION

 RACHEL G. DAMIANO and KATIE S.                              Case No. 1:21-cv-00859-CL
 MEDART,

                                            Plaintiffs,              DEFENDANTS’ MOTION FOR
                           v.                                            SUMMARY JUDGMENT
 GRANTS PASS SCHOOL DISTRICT 7, an
 Oregon public body; THE MEMBERS OF THE
 BOARD OF EDUCATION OF GRANTS PASS                                ORAL ARGUMENT REQUESTED
 SCHOOL DISTRICT 7 – Scott Nelson, Cliff
 Kuhlman, Gary Richardson, Debbie Brownell,
 Cassie Wilkins, Brian Delagrange, and Casey
 Durbin – in their official and personal capacities;
 KIRK T. KOLB, Superintendent, Grants Pass
 School District 7, in his official and personal
 capacity; and THOMAS M. BLANCHARD,
 Principal, North Middle School, Grants Pass
 School District y, in his official and personal
 capacity,
                                         Defendants.




PAGE i – DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                             VICKERS PLASS LLC
                                      5200 SW MEADOWS ROAD, SUITE 150
                                         LAKE OSWEGO, OREGON 97035
                                         (503) 726-5985| (503) 726-5975
                Case 1:21-cv-00859-CL                        Document 52                Filed 08/01/22               Page 2 of 28




                                                          Table of Contents


LR 7-1 ............................................................................................................................................. 1
MOTION......................................................................................................................................... 1
INTRODUCTION .......................................................................................................................... 1
STANDARDS................................................................................................................................. 2
BACKGROUND ............................................................................................................................ 3
   A.         Plaintiffs .............................................................................................................................. 3
   B.         I Resolve ............................................................................................................................. 3
   C.         Investigation ........................................................................................................................ 4
   D.         Termination and Reinstatement .......................................................................................... 5
ARGUMENT AND AUTHORITY ................................................................................................ 6
   I.         The District Board should be dismissed. ............................................................................ 6
   II.        Section 1983: First Amendment and Equal Protection ...................................................... 6
         a.         Section 1983: The official capacity claims are duplicative. ........................................ 7
         b.         Section 1983: The individual Board members should be dismissed. .......................... 7
              (1)      Board members are entitled to legislative immunity. ............................................... 7
              (2)      Individual Board members cannot act without a majority. ....................................... 8
         c.         Section 1983: First Amendment retaliation. ................................................................ 8
              (1)      Public Concern .......................................................................................................... 9
              (2)      Public v. Private Citizen ........................................................................................... 9
              (3)      Substantial or Motivating Factor ............................................................................ 10
              (4)      The District’s Justification ...................................................................................... 10
              (5)      Same Decision ........................................................................................................ 12
         d.         Section 1983: The “content-viewpoint” claim should be analyzed under Pickering. 13
         e.    Section 1983: Prohibiting employees from commenting on political matters during
         the scope of their employment does not violate the First Amendment. ................................ 13
         f.         Section 1983: Plaintiffs do not state an Equal Protection claim. ............................... 15
              (1)      Plaintiffs cannot bring an Equal Protection claim predicated on alleged retaliation.
                       15
              (2)      Plaintiffs’ Equal Protection claim alleges a class-of-one. ...................................... 15
              (3)      The District’s decisions satisfy rational basis review. ............................................ 16

PAGE ii – DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                                                  VICKERS PLASS LLC
                                                         5200 SW MEADOWS ROAD, SUITE 150
                                                            LAKE OSWEGO, OREGON 97035
                                                            (503) 726-5985| (503) 726-5975
              Case 1:21-cv-00859-CL                      Document 52                Filed 08/01/22             Page 3 of 28




       g.         Section 1983: Individual Liability ............................................................................. 16
            (1)      Personal Participation ............................................................................................. 17
            (2) The individual defendants are entitled to qualified immunity on plaintiffs’ section
            1983 claims. ...................................................................................................................... 17
       h.         Section 1983: Municipal liability............................................................................... 19
   III.       Title VII: The District did not discriminate against plaintiffs based on religion. ......... 20
       a.         Similarly situated individuals were not treated differently. ........................................ 20
       b.         The District had legitimate, non-discriminatory reasons for its decisions................. 21
   IV.        State Law Constitutional Claim ..................................................................................... 21
       a.         Plaintiffs cannot recover monetary damages. ............................................................. 21
       b.         No state laws are at issue. ........................................................................................... 21
       c.         The individual defendants are not proper defendants. ................................................ 22
CONCLUSION ............................................................................................................................. 22




PAGE iii – DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                                              VICKERS PLASS LLC
                                                      5200 SW MEADOWS ROAD, SUITE 150
                                                         LAKE OSWEGO, OREGON 97035
                                                         (503) 726-5985| (503) 726-5975
            Case 1:21-cv-00859-CL                      Document 52               Filed 08/01/22             Page 4 of 28




                                                  Table of Authorities
CASES
Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986) ................................................................... 2
Ashcroft v. Iqbal, 556 U.S. 662 (2009) ......................................................................................... 17
Bd. of County Comm’rs v. Umbehr, 518 U.S. 886 (1996) ............................................................ 11
Berry v. Dep’t of Soc. Servs.,447 F.3d 642 (9th Cir. 2006) .......................................................... 13
Bodett v. Comcox, Inc., 336 F.3d 736 (9th Cir. 2004) .................................................................. 20
Bodett v. CoxCom, Inc.,336 F.3d 736 (9th Cir. 2004) .................................................................. 21
Bogan v. Scott-Harris, 523 U.S. 44 (1998)..................................................................................... 7
Broadrick v. Oklahoma, 413 U.S. 601 (1973) .............................................................................. 13
Celotex Corp. v. Catrett, 477 U.S. 317 (1986) ............................................................................... 2
Clairmont v. South Mental Health, 632 F.3d 1091 (9th Cir. 2011) .............................................. 11
Delia v. City of Rialto, 621 F.3d 1069 (9th Cir. 2010) ................................................................. 19
Desrochers v. City of San Bernadino, 572 F.3d 703 (9th Cir. 2009).............................................. 9
Doe v. Claiborne County, Tennessee, 103 F.3d 495 (6th Cir. 1996) .............................................. 8
Dombroski v. City of Salem, 2012 WL 1035719 (D. Or. March 26, 2012) .................................... 6
Downs v. Los Angeles Unified Sch. Dist., 228 F.3d 1003 (9th Cir. 2000).................................... 14
Earl v. Nielsen Media Research, Inc., 658 F.3d 1108 (9th Cir. 2011) ......................................... 20
Eng v. Cooley, et. al, 552 F.3d 1062 (9th Cir. 2009) ............................................................. passim
Engquist v. Oregon Dep’t of Agric.,553 U.S. 591 (2008) ...................................................... 15, 16
Ex Parte Curtis, 106 U.S. 371 (1882)........................................................................................... 13
Garcetti v. Ceballos, 547 U.S. 410 (2006) ............................................................................... 9, 11
Gomez v. Vernon, 255 F.3d 1118 (9th Cir. 2001) ........................................................................... 7
Hiers v. Bd. of Regents of the University of North Texas System, 2022 WL 748502 (E.D. Texas
  Mar. 11, 2022)........................................................................................................................... 13
Howard v. City of Coos Bay, 2011 WL 899619 (D. Or. Mar. 14, 2011) ...................................... 10
Hunter v. City of Eugene, 309 Or. 298 (1990) ........................................................................ 21, 22
Johnson v. Poway Unified Sch. Dist., 658 F.3d 954 (9th Cir. 2011) .............................................. 9
Kaahumanu v. Cnty of Maui, 315 F.3d 1215 (9th Cir. 2003) ......................................................... 8
Mattos v. Agarano, 661 F.3d 433 (9th Cir. 2011)......................................................................... 18
Mazzeo v. Gibbons, 2010 WL 4384207 (D. Nev. Oct. 28, 2010) ................................................. 15
Mazzeo v. Young, 510 F. App'x 646 (9th Cir. 2013)..................................................................... 15
McDonnell Douglas Corp v. Green, 411 U.S. 792 804 (1973) .................................................... 20
Monell v. N.Y. City Dept. of Soc. Servs., 436 U.S. 658 (1978) ..................................................... 19
Moran v. Washington, 147 F.3d 839 (9th Cir. 1998) .................................................................... 18
Munroe v. Cent. Bucks Sch. Dist.,805 F.3d 454 (3d Cir. 2015).................................................... 11
Nelson v. Pima Community College, 83 F.3d 1075 (9th Cir. 1996) ............................................... 2
Occhionero v. City of Fresno, 2008 WL 2690431 (E.D. Cal. July 3, 2008) ................................ 15
Ortez v. Washington Co., 88 F.3d 804 (9th Cir. 1996) ................................................................. 17
Otten v. Schicker, 655 F.2d 142 (8th Cir.1981) ............................................................................ 14
Perry v. St. Pierre, 518 F.2d 184 (2d Cir.1975) ........................................................................... 14
Peterson v. Hewlett-Packard Co., 358 F.3d 599 (9th Cir. 2004) ................................................. 20

PAGE iv – DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                                            VICKERS PLASS LLC
                                                    5200 SW MEADOWS ROAD, SUITE 150
                                                       LAKE OSWEGO, OREGON 97035
                                                       (503) 726-5985| (503) 726-5975
             Case 1:21-cv-00859-CL                        Document 52                Filed 08/01/22               Page 5 of 28




Pickering v. Bd. of Educ., 391 U.S. 563 (1968).......................................................... 11, 12, 13, 18
Reeder v. Kansas City Board of Police Comm'rs, 733 F.2d 543 (8th Cir.1984) .......................... 13
Rollins v. McMinnville School Dist., et al., 3:20-cv-00900-HZ, dkt. 35 at 2 (D. Or. Nov. 27,
  2021) ......................................................................................................................................... 22
Romer v. Evans, 517 U.S. 620 (1996)........................................................................................... 16
Saucier v. Katz, 533 U.S. 194 (2001) ........................................................................................... 17
State v. Rangel, 328 Or. 294 (1999).............................................................................................. 22
T.L. ex rel Lowry v. Sherwood Charter School, 68 F. Supp. 3d 1295 (D. Or. 2014) ................... 21
United Public Workers v. Mitchell, 330 U.S. 75 (1947) ............................................................... 13
United States Civil Serv. Comm'n v. National Ass'n of Letter Carriers, 413 U.S. 548 (1973).... 13,
  14
United Steelworkers of Am. v. Phelps Dodge Corp., 865 F.2d 1539 (9th Cir. 1989) ..................... 2
Vance v. County of Santa Clara, 928 F. Supp. 993 (N.D. Cal. 1996) ............................................ 7
Wachsman v. City of Dallas, 704 F.2d 160 (5th Cir.1983)........................................................... 13
Waters v. Churchill, 511 U.S. 661 (1994) .................................................................................... 14
West v. Atkins, 487 U.S. 42 (1988) ................................................................................................. 7

STATUTES
42 U.S.C. § 1983 .................................................................................................................... passim
ORS 30.260 ................................................................................................................................... 22
ORS 30.265 ................................................................................................................................... 22
ORS 332.055 ................................................................................................................................... 8

OREGON CONSTITUTION
Article I, section 8 ................................................................................................................... 21, 22

RULES
Fed. R. Civ. P. 56 ........................................................................................................................ 1, 2
LR 7-1 ............................................................................................................................................. 1




PAGE v – DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                                               VICKERS PLASS LLC
                                                       5200 SW MEADOWS ROAD, SUITE 150
                                                          LAKE OSWEGO, OREGON 97035
                                                          (503) 726-5985| (503) 726-5975
             Case 1:21-cv-00859-CL                Document 52           Filed 08/01/22   Page 6 of 28




                                                          LR 7-1

           Pursuant to Local Rule 7-1(a), defendants certify that the parties conferred but were

unable to resolve their disputes.



                                                        MOTION

           Pursuant to Federal Rule of Civil Procedure 56, defendants move this Court for its order

granting summary judgment in their favor and against plaintiffs’ second amended complaint

(“complaint”) in its entirety. The ground for this motion is that there is no genuine dispute as to

any material fact and that the defendants are entitled to judgment as a matter of law. Defendants’

motion is supported by the argument and authorities below and the Declaration of Karen M.

Vickers1 and attached exhibits.




                                                  INTRODUCTION

           During the relevant timeframe, plaintiffs were Grants Pass School District (“District”)

employees. Plaintiffs disagreed with the District’s guidance regarding name changes, pronouns,

and bathroom access. During work time, plaintiffs developed resolutions that contradicted the

District’s guidance and turned the resolution into a “movement” and attempted to convince their

co-workers to sign on to it. Plaintiffs’ actions disrupted the operations of the District. The

District placed plaintiffs on paid administrative leave. Following an investigation, the District


1
    All cited exhibits are attached to the Vickers declaration.

PAGE 1 – DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                                      VICKERS PLASS LLC
                                               5200 SW MEADOWS ROAD, SUITE 150
                                                  LAKE OSWEGO, OREGON 97035
                                                  (503) 726-5985| (503) 726-5975
         Case 1:21-cv-00859-CL         Document 52            Filed 08/01/22   Page 7 of 28




terminated plaintiffs’ employment. Three months later, plaintiffs were reinstated.

       In the within lawsuit, plaintiffs make federal claims for alleged violations of the First

Amendment, the Equal Protection clause of the Fourteenth Amendment, Title VII, and a state

law claim for an alleged violation of the speech clause of the Oregon Constitution.



                                           STANDARDS

       A court must grant summary judgment if there are no genuine issues of material fact and

the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(c); Celotex Corp.

v. Catrett, 477 U.S. 317, 322–23 (1986). The mere existence of a factual dispute between the

parties is insufficient to defeat a motion for summary judgment. “Likewise, mere allegation and

speculation do not create a factual dispute for purposes of summary judgment.” Nelson v. Pima

Community College, 83 F.3d 1075, 1081–82 (9th Cir. 1996). Instead, to defeat a motion for

summary judgment, the non-moving party must show that there is a genuine issue of fact, which

means that the disputed evidence would be sufficient to support a reasonable jury verdict.

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 245–52 (1986); see United Steelworkers of Am. v.

Phelps Dodge Corp., 865 F.2d 1539, 1542 (9th Cir. 1989) (“A scintilla of evidence, or evidence

that is merely colorable or not significantly probative, does not present a genuine issue of

material fact.”). As described below, there are no genuine issues of material fact which would

allow the plaintiffs to proceed to trial, and the defendants are entitled to summary judgment as a

matter of law on the plaintiffs’ claims.




PAGE 2 – DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                            VICKERS PLASS LLC
                                     5200 SW MEADOWS ROAD, SUITE 150
                                        LAKE OSWEGO, OREGON 97035
                                        (503) 726-5985| (503) 726-5975
            Case 1:21-cv-00859-CL           Document 52            Filed 08/01/22   Page 8 of 28




                                              BACKGROUND

      A. Plaintiffs

          Plaintiff Rachel Sager2 started working for the District as an assistant principal at North

Middle School during the 2020/2021 school year. Ex. 1 (Sager Depo 16:10-16; 29:17-21).

Plaintiff Katie Medart started working for the District as a science teacher at North Middle

School during the 2019/2020 school year. Ex. 2 (Medart Depo 16:10-17).

      B. I Resolve

          In February 2021, the District provided guidance for administrators regarding student

pronouns, name changes, and bathroom access. Ex. 1 (Sager Depo 48:13-17; 48:24-49:1-5 &

Depo Ex. 1); Ex. 3 (Sager Interview Excerpt p. 1). Sager, an administrator, disagreed with the

guidance. Ex. 1 (Sager Depo 50:7-9). She knew that Medart had objections to it as well. See

Ex. 1 (Sager Depo 65:3-9). They began working on resolutions that contradict the guidance. Ex.

1 (Sager Depo 80:2-14); Ex. 2 (Medart Depo 64:20-65:3; 74:9-23). They worked on these

resolutions on work time. See, e.g., Ex. 1 (Sager Depo 44:7-96:10; 96:23-97:23; 101:13-102:8 &

Depo Ex. 2); Ex. 2 (Medart Depo 65:25-66:6; 84:19-85:20; 86:2-18; 93:10-16 & Depo Ex. 7);

Ex. 3 (Sager Interview Excerpt pgs. 2-3); Ex. 4 (Medart Interview Excerpt pgs. 1-5, 7-8) Ex. 5

(Kolb Depo 52:25-53:7). Sager and Medart used their District email accounts to circulate the

resolutions among themselves and others. See id.

          Sager and Medart filmed a video explaining their resolutions and posted it to YouTube

and other social media platforms. See https://www.youtube.com/watch?v=X-pk4FOrBCw . At




2
    Rachel Sager was formerly known as Rachel Damiano. Ex. 1 (Sager Depo 7:2-8).

PAGE 3 – DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                                 VICKERS PLASS LLC
                                          5200 SW MEADOWS ROAD, SUITE 150
                                             LAKE OSWEGO, OREGON 97035
                                             (503) 726-5985| (503) 726-5975
            Case 1:21-cv-00859-CL             Document 52           Filed 08/01/22   Page 9 of 28




one point during the video, Medart described concerns over a situation with a transgender male

student in her class. Ex. 1 (Sager Depo 81:11-82:19). Viewers of the video recognized the

identity of the student Medart referenced. The video and resolutions together are called I

Resolve. Ex. 1 (Sager Depo 79:11-20). I Resolve was not created to further religion. See Ex. 4

(Medart Interview Excerpt p. 6).

      C. Investigation

           Sager and Medart aggressively promoted their video while at work. As Medart explained

in her first interview regarding this matter:

                   Dan Huber-Kantola: Did Rachel know you were spending this
                   much time working on these things, talking to people during the
                   school day?

                   Katie Medart: Yes. I went and told her that I talked to so-and-so.

                   Dan Huber-Kantola: So when you talked to Jason Wright and
                   Mason Mahaffie and Jordan Kasler, Rachel knew that you’d talked
                   to all those different people. She knew that you talked to them
                   during flex3 hours?

                   Katie Medart: Yes.
                   …
                   Dan Huber-Kantola: Yeah Yeah. So she knew you were talking
                   to people to gather support for the resolution during flex time?

                   Katie Medart: Yes. I believe she will say that she was aware of
                   that. I would tell her after I did it, “Today, I went and talked to…”
                   “I shared this information. I sent them the link.” “This person said
                   they would check it out,” This person said, ‘Thank you. They’re
                   excited,’” “This person said, ‘I signed it.’”

Ex. 4 (Medart Interview Excerpt pg. 8).

            The District’s Internet filters blocked plaintiffs’ I Resolve website. Plaintiffs used their


3
    Flex time is work time. See Ex. 2 (Medart Depo 49:17-50:7).

PAGE 4 – DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                                  VICKERS PLASS LLC
                                           5200 SW MEADOWS ROAD, SUITE 150
                                              LAKE OSWEGO, OREGON 97035
                                              (503) 726-5985| (503) 726-5975
        Case 1:21-cv-00859-CL         Document 52           Filed 08/01/22   Page 10 of 28




positions within the District to unblock it. Ex. 1 (Sager Depo 94:11-18; 95:12 – 96:10 & Depo

Ex. 2). Discussions, planning, and recruitment happened on campus during the workday. Ex. 5

(Kolb Depo 93:25-94:16). As word of plaintiffs’ actions spread, substantial disruption occurred.

Ex. 5 (Kolb Depo 57:9-58:6; 103:10-20; 104:10-105:3); Ex. 6 (Ely Depo 32:6-13; 33:1-4); Ex.7

Cooks (7:6-13; 29:4-13). The District received complaints from plaintiffs’ co-workers, students,

and the community regarding plaintiffs’ activities.

       The District placed plaintiffs on paid administrative leave to investigate. Ex. 1 (Sager

Depo 114:24-115:5 & Depo Ex. 5); Ex. 2 (Medart Depo 92:13-21 & Depo Ex 9). Initially, North

Middle School Principal, defendant Tommy Blanchard, and HR Director Danny Huber-Kantola

began the investigation. The District later hired Bill Landis, an outside investigator, because

Medart filed a counter complaint (which she ultimately withdrew). Ex. 5 (Kolb Depo 70:15-19);

Ex. 2 (Medart Depo 93:17-94:12; 97:9-18; 97:22-25). Landis determined that plaintiffs violated

several District policies. Ex. 8 (Landis Report re Sager); Ex. 9 (Landis Report re Damiano).

   D. Termination and Reinstatement

       Landis’ reports first went to Sherry Ely, Chief Finance & Operations Officer for the

District. Ex. 6 (Ely Depo 6:18-21). Ely reviewed the reports and requested to meet with

plaintiffs for an explanation. Plaintiffs refused to meet with Ely. Ely recommended that District

Superintendent, defendant Kirk Kolb, terminate plaintiffs’ employment. Ex. 6 (Ely Depo 28:6-

29:4); Ex. 1 (Sager Depo 121:7-20 & Depo Ex. 6); Ex. 2 (Medart Depo 101:4-16 & Depo Ex.

10). Kolb reviewed Ely’s recommendations. He too requested to meet with plaintiffs. Plaintiffs

refused. Ex. 1 (Sager Depo 123:4-10); see Ex. 2 (Medart Depo 101:22-102:17). Kolb then

recommended that the District Board terminate plaintiffs’ employment. Ex. 1 (Sager Depo


PAGE 5 – DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                           VICKERS PLASS LLC
                                    5200 SW MEADOWS ROAD, SUITE 150
                                       LAKE OSWEGO, OREGON 97035
                                       (503) 726-5985| (503) 726-5975
          Case 1:21-cv-00859-CL             Document 52           Filed 08/01/22        Page 11 of 28




124:7-14 & Ex. 7); Ex. 2 (Medart Depo 104:13-21 & Depo Ex. 11); Ex. 5 (Kolb Depo 98:19-

99:1).

          Plaintiffs had separate public hearings4 before the District’s school board (“Board”)

regarding the recommendation for termination in July 2021. Plaintiffs had the opportunity to

bring representation to the Board meeting. Ex. 1 (Sager Depo 128:16-18). The Board voted 4-3

to terminate plaintiffs’ employment. Ex. 1 (Sager Depo 128:21-24). Three and a half months

later, in November 2021, the Board voted 4-3 to reinstate plaintiffs’ employment. Ex. 1 (Sager

Depo 128:25-129:4). Sager found a new position and left the District in June 2022. Ex. 5 (Kolb

Depo 103:2-9); Ex. 1 (Sager Depo 16:19-22).



                                ARGUMENT AND AUTHORITY

    I.       The District Board should be dismissed.

          The complaint makes claims against the Board. The Board should be dismissed because

it is not an entity separate from the District subject to suit. Oregon law only allows suit against

school districts in their corporate name “and not otherwise.” ORS 30.310. The Board is not a

suable entity. See, e.g., Dombroski v. City of Salem, 2012 WL 1035719, *3 (D. Or. March 26,

2012).

    II.      Section 1983: First Amendment and Equal Protection

          Plaintiffs’ first (First Amendment) and third (Equal Protection) causes of action are

brought pursuant to 42 U.S.C. § 1983. To prevail on a section 1983 claim, a plaintiff must



4
 Plaintiffs had the option for closed hearings, but both requested public hearings. Ex. 1 (Sager Depo 126:25-127:2);
Ex. 2 (Medart Depo 105:23-25).

PAGE 6 – DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                                 VICKERS PLASS LLC
                                          5200 SW MEADOWS ROAD, SUITE 150
                                             LAKE OSWEGO, OREGON 97035
                                             (503) 726-5985| (503) 726-5975
        Case 1:21-cv-00859-CL          Document 52           Filed 08/01/22   Page 12 of 28




establish the violation of a right secured by the federal constitution, and “must show that the

deprivation was committed by someone acting under color of state law.” West v. Atkins, 487

U.S. 42, 48 (1988).

               a. Section 1983: The official capacity claims are duplicative.

       The complaint makes the section 1983 claims against the individual defendants in both

their official and individual capacities. “A suit…against a governmental officer in his official

capacity is equivalent to a suit against the governmental entity itself.” Gomez v. Vernon, 255

F.3d 1118, 1126 (9th Cir. 2001); Vance v. County of Santa Clara, 928 F. Supp. 993, 996 (N.D.

Cal. 1996) (“if individuals are being sued in their official capacity as municipal officials and the

municipal entity itself is also being sued, then claims against the individuals are duplicative and

should be dismissed.”) Since plaintiffs’ complaint makes claims against the defendant District,

the official capacity claims against the individual defendants are duplicative and should be

dismissed.

               b. Section 1983: The individual Board members should be dismissed.

       The complaint makes claims against current Board members Scott Nelson, Brian De La

Grange, and Debbie Brownell in their official and personal capacities. Plaintiffs’ claims against

these defendants are based on two theories: (1) that these defendants, as part of their duty on the

school Board, voted to pass certain policies with which plaintiffs disagree; and (2) that these

defendants voted to terminate plaintiffs’ employment. Both theories fail as a matter of law.

                       (1) Board members are entitled to legislative immunity.

       “[L]ocal legislators are…absolutely immune from suit under section 1983 for their

legislative activities.” Bogan v. Scott-Harris, 523 U.S. 44, 50 (1998). In determining whether

PAGE 7 – DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                            VICKERS PLASS LLC
                                     5200 SW MEADOWS ROAD, SUITE 150
                                        LAKE OSWEGO, OREGON 97035
                                        (503) 726-5985| (503) 726-5975
        Case 1:21-cv-00859-CL           Document 52           Filed 08/01/22   Page 13 of 28




legislative immunity applies, the court considers: (1) whether the decision involves ad-hoc

decision-making or formulation of policy; (2) whether the decision applies to a few individuals

or the public at large; (3) whether the act is formally legislative in character; and (4) whether it

bears “all the hallmarks of traditional legislation.” Kaahumanu v. Cnty. of Maui, 315 F.3d 1215,

1220 (9th Cir. 2003) (citations omitted).

        Here, all four factors are met with respect to the individual board members’ votes

respecting District policies: the challenged policies are personnel policies applicable to all

District employees. Accordingly, the individual Board member defendants are entitled to

legislative immunity to the extent plaintiffs’ claims against them relate to their vote for various

District policies.

                        (2) Individual Board members cannot act without a majority.

        Plaintiffs seek to hold the individual Board members liable for voting to terminate their

employment. Pursuant to Oregon law, individual Board members cannot act alone with respect

to an individual’s employment. “The affirmative vote of the majority of members of the board is

required to transact any business.” ORS 332.055. In other words, only a school district board by

majority vote while the board is in session has the authority to hire and fire teachers and

administrators. See Doe v. Claiborne County, Tennessee, 103 F.3d 495, 512 (6th Cir. 1996)

(explaining that school board members are unable to act except as constituent members of a

majority). Accordingly, the individual Board members should be dismissed from plaintiffs’

section 1983 claims.

                c. Section 1983: First Amendment retaliation.

        Plaintiffs’ first count of their first claim for relief alleges plaintiffs were terminated for


PAGE 8 – DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                             VICKERS PLASS LLC
                                      5200 SW MEADOWS ROAD, SUITE 150
                                         LAKE OSWEGO, OREGON 97035
                                         (503) 726-5985| (503) 726-5975
          Case 1:21-cv-00859-CL              Document 52           Filed 08/01/22         Page 14 of 28




engaging in protected speech.5 In analyzing First Amendment retaliation claims, the Ninth

Circuit provides a sequential five-step series of questions:

    (1) Whether the plaintiff spoke on a matter of public concern;

    (2) Whether the plaintiff spoke as a private citizen or public employee;

    (3) Whether the plaintiff's protected speech was a substantial or motivating factor in the
        adverse employment action;
    (4) Whether the state had an adequate justification for treating the employee differently from
    other members of the general public; and

    (5) Whether the state would have taken the adverse employment action even absent the
        protected speech.
Eng v. Cooley, et. al, 552 F.3d 1062, 1070 (9th Cir. 2009). If a plaintiff fails any of these

elements, their speech retaliation claim fails. See id. at 1070-72.

                           (1) Public Concern

         A plaintiff bears the burden of proving that her speech was on a matter of public concern.

Johnson v. Poway Unified Sch. Dist., 658 F.3d 954, 961 (9th Cir. 2011). Speech involving

personnel disputes and grievances are not matters of public concern. Desrochers v. City of San

Bernadino, 572 F.3d 703, 710 (9th Cir. 2009).

                           (2) Public v. Private Citizen

         Public employees do not receive First Amendment protection when they “make

statements pursuant to their official duties.” Garcetti v. Ceballos, 547 U.S. 410, 421 (2006)

(“When public employees make statements pursuant to their official duties, the employees are




5
  Plaintiffs’ also make a claim titled “Compelled Speech” however plaintiffs simply reallege the factual basis of their
retaliation claim. Accordingly, the compelled speech claim should be analyzed under the First Amendment
retaliation standards.

PAGE 9 – DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                                  VICKERS PLASS LLC
                                           5200 SW MEADOWS ROAD, SUITE 150
                                              LAKE OSWEGO, OREGON 97035
                                              (503) 726-5985| (503) 726-5975
        Case 1:21-cv-00859-CL         Document 52           Filed 08/01/22   Page 15 of 28




not speaking as citizens for First Amendment purposes, and the Constitution does not insulate

their communications from employer discipline.”) Thus, where an employee has an official duty

to speak, or his speech is the product of performing the tasks the employee is paid to perform, the

speech is spoken in her capacity as a public employee. Eng, 552 F.3d at 1071.

       Here, plaintiffs equivocate on whether the speech was made pursuant to their official

duties. See, e.g., Ex. 1 (Sager Depo 98:14-23; 99:9-19). Sometimes, plaintiffs take the position

that drafting the I Resolve resolutions and proposing policies was part of their role with the

District and that the First Amendment entitles them to do so. See Id. Elsewhere, plaintiffs

contend that time expended on I Resolve was done on their own time and unconnected to their

work activities.

                       (3) Substantial or Motivating Factor

       Plaintiffs have the burden to show that defendants terminated their employment and that

their speech was a substantial or motivating factor in the decision. Id. at 1071. “[T]he fact that

the employer knew about the employee’s speech is not enough, in and of itself to survive

summary judgment.” Howard v. City of Coos Bay, 2011 WL 899619, *6 (D. Or. Mar. 14, 2011).

                       (4) The District’s Justification

       Even if the Court finds plaintiffs can make their prima facie case, “the burden shifts to

the government to show that under the balancing test established by Pickering, the state’s

legitimate administrative interests outweigh the employee’s First Amendment rights.” Eng, 552

at 1071 (internal citations and quotations omitted).

               This inquiry, known as the Pickering balancing test, asks:
                whether the relevant government entity had an adequate
               justification for treating the employee differently from any other


PAGE 10 – DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                           VICKERS PLASS LLC
                                    5200 SW MEADOWS ROAD, SUITE 150
                                       LAKE OSWEGO, OREGON 97035
                                       (503) 726-5985| (503) 726-5975
        Case 1:21-cv-00859-CL         Document 52           Filed 08/01/22   Page 16 of 28




               member of the general public.” Garcetti, 547 U.S. at 418. Its
               qualified restriction of ordinarily protected speech recognizes that
               “[a] government entity has broader discretion to restrict speech
               when it acts in its role as employer, but the restrictions it imposed
               must be directed at speech that has some potential to disrupt the
               entity’s operations.
Id.

       Stated differently, an adverse action based on protected speech may be justified when

legitimate countervailing government interests are sufficiently strong. Bd. of County Comm’rs v.

Umbehr, 518 U.S. 886, 675 (1996). Public employers are allowed to prohibit otherwise

protected speech where the “interest of the State, as an employer, in promoting the efficiency of

the public services it performs through its employees, outweighs” the employee’s right to

comment on matters of public concern. Pickering v. Bd. of Educ., 391 U.S. 563, 568 (1968).

       To analyze whether the government’s administrative interests outweigh a plaintiff’s right

to engage in protected speech, courts “examine disruption resulting both from the act of speaking

and from the content of the speech.” Clairmont v. South Mental Health, 632 F.3d 1091, 1107

(9th Cir. 2011). The government interests “include promoting efficiency and integrity in the

discharge of official duties and maintaining proper discipline in the public service.” Id.

       The analysis conducted by courts looks to whether plaintiff’s speech “impeded his ability

to perform his job duties.” Id. Along the same lines, courts also consider the extent that

plaintiff’s speech interfered with workplace relationships. Id. Interference with workplace

relationships can be shown via “actual, material and substantial disruption, or reasonable

predictions of disruptions in the workplace.” Id. Courts are also more likely to accept a

government employer’s prediction of future disruption if some disruption has already occurred.

See e.g., Munroe v. Cent. Bucks Sch. Dist.,805 F.3d 454 477-78 (3d Cir. 2015) (relying on


PAGE 11 – DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                           VICKERS PLASS LLC
                                    5200 SW MEADOWS ROAD, SUITE 150
                                       LAKE OSWEGO, OREGON 97035
                                       (503) 726-5985| (503) 726-5975
        Case 1:21-cv-00859-CL         Document 52           Filed 08/01/22   Page 17 of 28




complaints from parents whose children were criticized in teacher’s blog with demands for their

children to be placed in a different classroom).

       Here, plaintiffs’ speech caused or had a potential to cause a disruption to the District.

The District received nearly 100 complaints about plaintiffs’ conduct. Students staged protests.

Administrators had to spend significant time responding to these issues, rather than on the work

of education students. Additionally, plaintiffs’ actions in promoting their speech at work harmed

the working relationship among school staff and students. The District concluded that plaintiffs’

speech caused a disruption or was likely to do so.

                       (5) Same Decision

       Finally, even if “the government fails the Pickering balancing test, it alternatively bears

the burden of demonstrating that it "would have reached the same [adverse employment]

decision even in the absence of the [employee's] protected conduct.” Eng, 552 at 1071.

In other words, [Defendants] may avoid liability by showing that the employee's protected

speech was not a but-for cause of the adverse employment action.” Id. This test “asks whether

the ‘adverse employment action was based on protected and unprotected activities," and if the

state "would have taken the adverse action if the proper reason alone had existed.’” Id.

Defendants prevail if they “successfully allege . . . that [they] would have made the same

employment decisions even absent the questioned speech.” Id. at 1072. Defendants would have

proceeded in the same manner regardless of plaintiffs’ alleged protected speech. See, e.g., Ex. 6

(Ely Depo 30:15-25). Plaintiffs’ numerous policy violations support their termination.




PAGE 12 – DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                           VICKERS PLASS LLC
                                    5200 SW MEADOWS ROAD, SUITE 150
                                       LAKE OSWEGO, OREGON 97035
                                       (503) 726-5985| (503) 726-5975
        Case 1:21-cv-00859-CL          Document 52           Filed 08/01/22   Page 18 of 28




               d. Section 1983: The “content-viewpoint” claim should be analyzed under
                  Pickering.

       Plaintiffs also make a First Amendment claim titled “content-viewpoint restriction” in

which they alleged that defendants have allowed and failed to punish speech by other District

employees. The Pickering analysis above applies to viewpoint discrimination claims brought by

public employees. See, e.g., Hiers v. Bd. of Regents of the University of North Texas System,

2022 WL 748502, *12 (E.D. Texas Mar. 11, 2022) citing Berry v. Dep’t of Soc. Servs.,447 F.3d

642 (9th Cir. 2006). As described above, under that framework plaintiffs’ claims fail.

               e. Section 1983: Prohibiting employees from commenting on political
                  matters during the scope of their employment does not violate the First
                  Amendment.

       Plaintiffs’ final First Amendment claim is a challenge to District policies which prohibit

them from speaking on political issues while at work. Plaintiffs allege that this is an

unconstitutional prior restraint on speech.

       For over a hundred years, courts have upheld regulations on the rights of public

employees to engage in political speech at the federal, state, and local level. United States Civil

Serv. Comm'n v. National Ass'n of Letter Carriers, 413 U.S. 548 (1973); United Public Workers

v. Mitchell, 330 U.S. 75 (1947) ; Ex Parte Curtis, 106 U.S. 371 (1882); Broadrick v.

Oklahoma, 413 U.S. 601, 606 (1973) (upholding state laws similar to the federal Hatch Act),

including law enforcement officers.); Reeder v. Kansas City Board of Police Comm'rs, 733 F.2d

543, 547 (8th Cir.1984) (upholding Mo.Rev.Stat. § 84–830, which prohibited members of the

Kansas City Police Department from making any political campaign contributions); Wachsman

v. City of Dallas, 704 F.2d 160 (5th Cir.1983) (upholding various provisions of the Dallas city

charter which prevented city police officers from making contributions to or soliciting

PAGE 13 – DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                            VICKERS PLASS LLC
                                     5200 SW MEADOWS ROAD, SUITE 150
                                        LAKE OSWEGO, OREGON 97035
                                        (503) 726-5985| (503) 726-5975
        Case 1:21-cv-00859-CL          Document 52           Filed 08/01/22   Page 19 of 28




contributions for city council candidates); Otten v. Schicker, 655 F.2d 142, 144 (8th

Cir.1981) (upholding a St. Louis Police Department local rule which prevented officers from

running or campaigning for public office); Perry v. St. Pierre, 518 F.2d 184, 186 (2d

Cir.1975) (upholding a provision of the Plattsburgh, New York, city charter which made it

unlawful for a city police officer to, among other things, “attempt to influence any voter”).

       These restrictions – many of which apply to public employees’ off work political

activities, not the on campus and scope of employment speech at issue here – serve legitimate

and important government interests. See, e.g., Letter Carriers, 413 U.S. at 566-60; Waters v.

Churchill, 511 U.S. 661, 674–75 (1994) (plurality opinion) (stating that “[g]overnment agencies

are charged by law with doing particular tasks,” that “[a]gencies hire employees to help do those

tasks as effectively and as efficiently as possible” and that “[w]hen [an employee] ... begins to do

or say things that detract from the agency's effective operation, the government employer must

have some power to restrain her”). Among those interests, is the encouragement of impartiality

and the public perception of impartiality in government services. See Letter Carriers, 413 U.S.

at 565 (stating that public employees “are expected to enforce the law ... without bias or

favoritism” and that “[a] major thesis of the Hatch Act is that to serve this great end of

Government-the impartial execution of the laws-it is essential that federal employees” not

become involved in politics). The District’s policies which plaintiffs challenge advance similar

interests. Plaintiffs’ policy-based challenge based on their on campus speech in the course of

their employment should be dismissed. See Downs v. Los Angeles Unified Sch. Dist., 228 F.3d

1003, 1014 (9th Cir. 2000).




PAGE 14 – DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                            VICKERS PLASS LLC
                                     5200 SW MEADOWS ROAD, SUITE 150
                                        LAKE OSWEGO, OREGON 97035
                                        (503) 726-5985| (503) 726-5975
        Case 1:21-cv-00859-CL          Document 52           Filed 08/01/22   Page 20 of 28




               f. Section 1983: Plaintiffs do not state an Equal Protection claim.

       The third cause of action is for an alleged violation of the Equal Protection clause of the

Fourteenth Amendment. Plaintiffs allege defendants have not taken disciplinary action against

employees who have expressed support for and endorsed “the concept of shifting gender

identity.” Plaintiffs allege that, in contrast, defendants have taken disciplinary action against

plaintiffs who present a dissenting view.

                       (1) Plaintiffs cannot bring an Equal Protection claim predicated on
                           alleged retaliation.

       Plaintiffs’ Equal Protection claim is based on alleged retaliation. Disparate treatment

stemming from alleged retaliation for speech or conduct does not implicate the Equal Protection

Clause of the Fourteenth Amendment. Mazzeo v. Gibbons, 2010 WL 4384207, at *5 (D. Nev.

Oct. 28, 2010) (“The Court concludes that [Plaintiff's] allegations impermissibly combine her

First Amendment Retaliation and Fourteenth Amendment Equal Protection claims.”), aff'd sub

nom. Mazzeo v. Young, 510 F. App'x 646 (9th Cir. 2013); Occhionero v. City of Fresno, 2008

WL 2690431, at *8 (E.D. Cal. July 3, 2008) (“[T]his Court agrees with other courts that a claim

of different treatment in retaliation for speech is a First Amendment claim which does not invoke

the Equal Protection Clause. At its core, [Plaintiff's] claim is First Amendment retaliation, not

equal protection.”), aff'd, 386 F. App'x 745 (9th Cir. 2010). Plaintiffs’ Equal Protection claim

should accordingly be dismissed.

                       (2) Plaintiffs’ Equal Protection claim alleges a class-of-one.

       Plaintiffs seem to be making an Equal Protection class-of-one claim. Class-of-one claims

are not cognizable in the public employment context. Engquist v. Oregon Dep’t of Agric.,553



PAGE 15 – DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                            VICKERS PLASS LLC
                                     5200 SW MEADOWS ROAD, SUITE 150
                                        LAKE OSWEGO, OREGON 97035
                                        (503) 726-5985| (503) 726-5975
        Case 1:21-cv-00859-CL           Document 52           Filed 08/01/22   Page 21 of 28




U.S. 591, 598 (2008). As the Supreme Court explained in Engquist:

                [T]he class-of-one theory of equal protection – which presupposes
                that like individuals should be treated alike, and that to treat them
                differently is to classify them in a way that must survive at least
                rationality review – is simply a poor fit in the public employment
                context. To treat employees differently is not to classify them in a
                way that raises equal protection concerns. Rather, it is simply to
                exercise the broad discretion that typically characterizes the
                employer-employee relationship. A challenge that one has been
                treated individually in this context, instead of like everyone else, is
                a challenge to the underlying nature of the government action.

Id. at 605.

        Here, plaintiffs are essentially attempting to assert a class-of-one Equal Protection claim

over their terminations. Such claims are not cognizable. Accordingly, plaintiffs’ Equal

Protection claim should be dismissed.

                        (3) The District’s decisions satisfy rational basis review.

        Decisions that do not burden a protected class are subject to rational basis review. See

Romer v. Evans, 517 U.S. 620, 631 (1996). Under rational basis review, the decision must be

rationally related to furtherance of a legitimate governmental interest. Id. Here, the District

terminated plaintiffs’ employment for multiple policy violations, each of which, as described

above serves legitimate government interests.

                g. Section 1983: Individual Liability

        If plaintiffs failed to identify any constitutional violations then there is no constitutional

claim for which the individual defendants—all of whom were named as defendants with respect

to all of the plaintiffs’ section 1983 claims—can potentially be liable. If, on the other hand,

plaintiffs identified a constitutional violation, then the question becomes whether there is any



PAGE 16 – DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                             VICKERS PLASS LLC
                                      5200 SW MEADOWS ROAD, SUITE 150
                                         LAKE OSWEGO, OREGON 97035
                                         (503) 726-5985| (503) 726-5975
        Case 1:21-cv-00859-CL          Document 52           Filed 08/01/22   Page 22 of 28




basis for any individual defendant to be liable.

                       (1) Personal Participation

       Because section 1983 does not provide for vicarious liability, an individual’s liability

under section 1983 arises only if he “personally participated” in the alleged constitutional

deprivation (or that he was “personally involved,” as it is often phrased). Ortez v. Washington

Co., 88 F.3d 804, 809 (9th Cir. 1996). That is, an official can only be liable under section 1983

“for his or her own misconduct.” Ashcroft v. Iqbal, 556 U.S. 662, 677 (2009).

       Here, plaintiffs cannot show that each of the individual defendants personally participated

– in the section 1983 sense – in the alleged violation of plaintiffs’ rights. Blanchard, for

instance, took no action against plaintiffs’ employment other than placing them on paid

administrative leave. Moreover, plaintiffs cannot establish that each individual defendant had

the requisite state of mind or knowledge of other employees’ alleged actions necessary to

establish liability against each of them in their individual capacities. Finally, since only the

Board, acting as a majority, can make termination decisions, the only proper defendant on

plaintiffs’ section 1983 claims is the defendant District. Kolb, Blanchard, Nelson, Brownell, and

De La Grange should be dismissed.

                       (2) The individual defendants are entitled to qualified immunity on
                           plaintiffs’ section 1983 claims.

       Even if plaintiffs can establish personal participation, the individual defendants are

entitled to qualified immunity. Qualified immunity is designed “to ensure that…[government

officials] are on notice that their conduct is [clearly] unlawful” before they can be subject to civil

suit. Saucier v. Katz, 533 U.S. 194, 206 (2001). Accordingly, government officials will not be



PAGE 17 – DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                            VICKERS PLASS LLC
                                     5200 SW MEADOWS ROAD, SUITE 150
                                        LAKE OSWEGO, OREGON 97035
                                        (503) 726-5985| (503) 726-5975
        Case 1:21-cv-00859-CL          Document 52           Filed 08/01/22   Page 23 of 28




liable for civil damages “insofar as their conduct does not violate clearly

established…constitutional rights of which a reasonable person would have known.” Id. Under

this standard, the question is whether the contours of the right were “sufficiently clear that every

reasonable official would have understood that what he [was] doing violate[d] that right.” While

courts “do not require a case directly on point, …existing precedent must have placed the

statutory or constitutional question beyond debate” as applied to the particular conduct, and the

particular set of circumstances, at issue. Mattos v. Agarano, 661 F.3d 433, 442 (9th Cir. 2011).

Plaintiffs who sue government officials under section 1983 bear the burden of proving that the

officials lost their qualified immunity. Moran v. Washington, 147 F.3d 839, 844 (9th Cir. 1998).

       Because the Pickering balancing test is “a context-intensive, case-by-case balancing

analysis, the outcome of which is rarely clear…the law regarding First Amendment retaliation

claims will rarely, if ever, be sufficiently ‘clearly established’ to preclude qualified immunity.”

Eng, 552 F.3d at 1076, fn. 6 (emphasis added).

       In the instant case, a reasonable official in defendants’ position facing the exact same

facts would have no reason to believe that terminating plaintiffs for multiple policy violations

would violate the First Amendment or the Equal Protection clause of the Fourteenth

Amendment. The balancing inquiry required by Pickering means a reasonable official would not

find the law to be “clearly established” regarding which facts support a finding that the District’s

legitimate interests outweighed plaintiffs’ alleged First Amendment rights.

       Here, plaintiffs created a disruption and the potential for disruption with both their off

and on campus activities. They did so in advocating to reduce rights of transgender students, a

position at least one individual defendant understood was discrimination in violation of federal


PAGE 18 – DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                            VICKERS PLASS LLC
                                     5200 SW MEADOWS ROAD, SUITE 150
                                        LAKE OSWEGO, OREGON 97035
                                        (503) 726-5985| (503) 726-5975
        Case 1:21-cv-00859-CL            Document 52           Filed 08/01/22   Page 24 of 28




law. Ex. 5 (Kolb Depo 39:25-40:8; 102:1-8; 102:14-20). No law clearly establishes that

plaintiffs’ termination in these circumstances violated plaintiffs’ First Amendment or Equal

Protection rights.

               h. Section 1983: Municipal liability

       If plaintiffs failed to identify any constitutional violations, then there is no constitutional

claim for which the defendant District can potentially be liable. If, on the other hand, the

plaintiffs identified a constitutional violation, then the question becomes whether there is any

basis for the defendant District – who was named as a defendant with respect to all the plaintiffs’

section 1983 claims – to be liable for any surviving constitutional claim.

       Section 1983 does not provide for vicarious liability. A municipal entity cannot be liable

under section 1983 simply because it employed a person who violated someone’s constitutional

rights. Instead, a municipal entity can only be liable for its “own” constitutional deprivations.

See generally Monell v. N.Y. City Dept. of Soc. Servs., 436 U.S. 658 (1978). One way to

establish Monell liability is to show that the employment decision was made by a “final

policymaker.” Delia v. City of Rialto, 621 F.3d 1069, 1081-82 (9th Cir. 2010).

       For the purposes of the within motion, defendants concede that the Board’s decision with

respect to plaintiffs’ terminations were actions by a final policymaker. However, for purposes of

Monell liability, plaintiffs cannot establish that the Board’s decision violated plaintiffs’ rights.

And assuming for the sake of argument only that plaintiffs can bring an Equal Protection claim,

plaintiffs cannot establish that the Board intentionally treated others similarly situated differently

without a proper basis for doing so.




PAGE 19 – DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                              VICKERS PLASS LLC
                                       5200 SW MEADOWS ROAD, SUITE 150
                                          LAKE OSWEGO, OREGON 97035
                                          (503) 726-5985| (503) 726-5975
          Case 1:21-cv-00859-CL          Document 52           Filed 08/01/22   Page 25 of 28




   III.      Title VII: The District did not discriminate against plaintiffs based on religion.

          Plaintiffs make a religious discrimination claim under Title VII. They allege that the

District discriminated against them for their religious beliefs.

          Plaintiff’s disparate treatment claim fails because: (a) there are no comparators, and (b)

regardless, the District had legitimate, non-discriminatory reasons for its actions.

          The Title VII claim is analyzed under the McDonnell Douglas burden-shifting

framework. Bodett v. Comcox, Inc., 336 F.3d 736, 743 (9th Cir. 2004) (describing Title VII

framework). Under this framework, plaintiffs have the burden of proving (1) they are member of

a protected class; (2) they were qualified for the position; (3) they experienced an adverse

employment action; and (4) similarly situated individuals outside their protected class were

treated more favorably, or that other circumstances surrounding the adverse action give rise to an

inference of discrimination. Peterson v. Hewlett-Packard Co., 358 F.3d 599, 603 (9th Cir.

2004). If plaintiffs meet that burden, then the District must offer a legitimate non-discriminatory

reason for taking the adverse action. Bodett, 366 F.3d at 744. Plaintiffs can then attempt to

show that the given reason is pretextual. McDonnell Douglas Corp v. Green, 411 U.S. 792 804

(1973).

                 a. Similarly situated individuals were not treated differently.

          Similarly situated employees were not treated different. “Other employees are similarly

situated to the plaintiff when they have similar jobs and display similar conduct.” Earl v. Nielsen

Media Research, Inc., 658 F.3d 1108, 1114 (9th Cir. 2011). Here, plaintiffs cannot show that

other employees were or would have been treated differently than plaintiffs if they similarly

violated District policy.


PAGE 20 – DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                              VICKERS PLASS LLC
                                       5200 SW MEADOWS ROAD, SUITE 150
                                          LAKE OSWEGO, OREGON 97035
                                          (503) 726-5985| (503) 726-5975
         Case 1:21-cv-00859-CL          Document 52           Filed 08/01/22   Page 26 of 28




                b. The District had legitimate, non-discriminatory reasons for its decisions.

         The District had legitimate, non-discriminatory reasons for terminating plaintiffs’

employment. Plaintiffs violated multiple District policies, including disruption to the school

environment. Preventing disruption in school programs is a legitimate, non-discriminatory

reason for a school district’s actions. See, e.g., T.L. ex rel Lowry v. Sherwood Charter School, 68

F. Supp. 3d 1295, 1313 (D. Or. 2014); see also Bodett v. CoxCom, Inc.,336 F.3d 736 (9th Cir.

2004) (Employee who argued that comments to co-worker about the Bible’s view of

homosexuality violated of facially neutral policies. Termination for violation of such policies

was a legitimate, non-discriminatory reason for termination.) Plaintiffs cannot establish their

statutory religious discrimination claims.



   IV.      State Law Constitutional Claim

         The second cause of action is brought against all defendants and alleges a violation of the

speech clause of the Oregon Constitution. Plaintiffs allege that defendants violated Article I,

section 8 of the Oregon Constitution by terminating them because of their I Resolve video.

                a. Plaintiffs cannot recover monetary damages.

         There is no private right of action for damages under the Oregon Constitution. Hunter v.

City of Eugene, 309 Or. 298 (1990). Accordingly, plaintiffs’ Oregon Constitutional claim should

be dismissed.

                b. No state laws are at issue.

         Plaintiffs’ state law constitutional claims allege that defendants violated Article I, section

8, of the Oregon Constitution. This provision addresses prohibitions against various types of

PAGE 21 – DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                             VICKERS PLASS LLC
                                      5200 SW MEADOWS ROAD, SUITE 150
                                         LAKE OSWEGO, OREGON 97035
                                         (503) 726-5985| (503) 726-5975
        Case 1:21-cv-00859-CL          Document 52           Filed 08/01/22   Page 27 of 28




laws. No laws or even municipal policies are at issue in this case. Furthermore, there is no basis

to grant plaintiffs’ relief under the Oregon Constitution related to the alleged retaliatory

termination. Rollins v. McMinnville School Dist., et al., 3:20-cv-00900-HZ, dkt. 35 at 2 (D. Or.

Nov. 27, 2021) (so holding regarding claims brought under Article I, section 8). Finally,

contrary to plaintiffs’ allegations, plaintiffs were not terminated because of the content of their

speech. Plaintiffs terminations were based on policy violations, including that they engaged in

disruptive speech on and off campus. “Article I, Section 8 [of the Oregon Constitution], does not

prohibit the enactment of statutes that focus on the forbidden effects of expression, if they are not

directed at the substance of the expression.” State v. Rangel, 328 Or. 294, 299 (1999).

Plaintiffs’ claim alleging a violation of Article I, section 8 of the Oregon Constitution should be

dismissed.

               c. The individual defendants are not proper defendants.

       This action is against a public entity and its agents, thus the state law claims are governed

by the Oregon Tort Claims Act, ORS 30.260, et seq. Pursuant to the OTCA, since plaintiffs

cannot recover damages on a state law constitutional claim, Hunter, 309 Or. 298, that claim can

only be brought against the defendant District. See ORS 30.265(3). The individual defendants

should be dismissed from the Oregon Constitutional claim.



                                        CONCLUSION

       For the reasons given above, defendants respectfully request that the Court grant their

motion for summary judgment against all claims in plaintiffs’ complaint.




PAGE 22 – DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                            VICKERS PLASS LLC
                                     5200 SW MEADOWS ROAD, SUITE 150
                                        LAKE OSWEGO, OREGON 97035
                                        (503) 726-5985| (503) 726-5975
      Case 1:21-cv-00859-CL      Document 52           Filed 08/01/22   Page 28 of 28




      DATED: August 1, 2022.

                                 VICKERS PLASS LLC


                                        s/ Karen M. Vickers
                                 KAREN M. VICKERS, OSB No. 913810
                                 kvickers@vickersplass.com
                                 503-726-5985
                                 BETH F. PLASS, OSB No. 122031
                                 bplass@vickersplass.com
                                 503-726-5975
                                        Of Attorneys for Defendants




PAGE 23 – DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                                      VICKERS PLASS LLC
                               5200 SW MEADOWS ROAD, SUITE 150
                                  LAKE OSWEGO, OREGON 97035
                                  (503) 726-5985| (503) 726-5975
